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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION




  The State of Texas, et al.,
                                                      Case No. 4:20-cv-00957-SDJ
                         Plaintiffs,


        v.


  Google LLC,


                        Defendant.




       GOOGLE LLC’S MEMORANDUM IN OPPOSITION TO PLAINTIFFS’
           MOTION TO EXCLUDE OPINIONS OF ITAMAR SIMONSON
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                                        INTRODUCTION

       Professor Itamar Simonson is a leading expert in survey design. He conducted three

reliable and relevant surveys that empirically analyzed evidence showing that advertisers and ad

agencies often use multiple ad buying tools and shift their ad spend across different ad formats—

including social media, display, and video—in response to changes in relative cost. Plaintiffs,

having conducted no survey of their own, claim that Prof. Simonson’s surveys are unreliable

because his samples are unrepresentative, his surveys were not double blind, and he used a

purportedly vague term in one question. None of these arguments warrants exclusion.

       Plaintiffs’ arguments all fail because Plaintiffs do not explain how any of the purported

errors they identify could have created any bias or other unreliability in Prof. Simonson’s results.

With respect to excluded or omitted participants, they ignore that evidence is, in fact, available

from many of the excluded advertisers (because they provided discovery directly in this case)

and that such evidence is consistent with Prof. Simonson’s survey results. This directly refutes

Plaintiffs’ insinuation of sampling bias. Moreover, Plaintiffs ignore that the methods they

criticize are condoned by the very authority that they and their survey expert rely upon, the

Federal Judicial Center’s Reference Manual on Scientific Evidence (“FJC Manual”), that their

own expert has excluded parties from her samples in the past, and that the federal government

concludes its litigation surveys with a similar disclosure and opt-out option.

       Plaintiffs’ critique of Prof. Simonson’s use of “small but significant” as vague and

confusing to a jury is just as easily dispensed with. Their speculation that survey participants

had differing precise interpretations of the term is unsupported and has no bearing on the

ultimate reliability of the survey results. And their fear that the jury will interpret the term

differently can be dealt with on cross-examination.




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                                        BACKGROUND

   A. Professor Simonson Is Qualified to Conduct Surveys.
       Professor Itamar Simonson is the Sebastian S. Kresge Emeritus Professor of Marketing at

Stanford University’s Graduate School of Business, where he taught for more than 25 years. See

Ex. 1, Expert Report of Itamar Simonson, Ph.D, July 30, 2024 (“Ex. 1, Simonson Rep.”) ¶ 1.

Google retained Prof. Simonson to conduct “surveys designed to examine how advertisers at

companies and . . . ad agencies . . . approach, manage, and evaluate digital advertising and, in

particular, display advertising and programmatic display advertising.” Id. ¶ 13.

       Plaintiffs rightly do not challenge Prof. Simonson’s qualifications. He is a well-respected

survey expert who has published countless articles, id. ¶ 4, won numerous awards for his

scholarship, id. ¶ 5, taught doctoral courses for 33 years, id. ¶ 7, and has been repeatedly qualified

as an expert on survey design and implementation by federal courts, see, e.g., Malletier v. Dooney

& Bourke, Inc., 525 F. Supp. 2d 558, 626 n.210 (S.D.N.Y. 2007) (“Simonson is eminently

qualified to analyze survey techniques”); Schechner v. Whirlpool Corp., 2018 WL 6843305, at *9

(E.D. Mich. Oct. 30, 2018) (“Simonson’s credentials are impressive, and his qualifications related

to consumer research cannot be reasonably challenged.”); TCL Commc’n Tech. Holdings, Ltd. v.

Telefonaktiebolaget LM Ericsson, 2018 WL 4488286, at *29 (C.D. Cal. Sept. 14, 2018) (finding

Prof. Simonson is “exceptionally well credentialed in survey work”), rev’d in part, vacated in part

on other grounds, 943 F.3d 1360 (Fed. Cir. 2019).

   B. Professor Simonson Surveyed Statistically Robust Panels of Higher-Spend
      Advertisers, Lower-Spend Advertisers, and Ad Agencies.
       Prof. Simonson was asked to examine the factors that advertisers and ad agencies

consider when allocating their spending, the ways they may react to “changing display

advertising costs,” their use of ad buying tools, the ways they assess performance, and other


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issues. Ex. 1, Simonson Rep. ¶ 13. Prof. Simonson defined the relevant “universe” for his

surveys, taking into account the “two potentially significant distinctions [among respondents]:

the size of the advertising budget and the difference between an advertiser and an advertising

agency.” Id. ¶ 21. As a result, he developed three surveys: one for higher-spend advertisers (with

over $500,000 annual ad spend), one for lower-spend advertisers (under $500,000 annually),

and one for ad agencies. Id. ¶¶ 18, 42, 116, 125. Prof. Simonson hired Advertiser Perceptions

(“AP”), a “leading” third-party market research firm, to recruit representative samples of

advertisers and agencies. Ex. 1, Simonson Rep. ¶ 30. Prof. Simonson did his diligence, including

by conducting pre-survey interviews, see Ex. 2, Simonson Tr. 122:3-19, to ensure that AP used

a reliable process to recruit respondents. See Ex. 1, Simonson Rep. ¶ 33 & n.35; see also Ex. 3

(Simonson’s EDVA Transcript) at 73:4-15. Google, and many third parties in the industry who

provided discovery in this case, subscribe to AP market intelligence. See, e.g., Pubmatic, The

State of Omnichannel Wrapper: US Market Landscape Study (2020)1; Ex. 7 (

                                                ); Ex. 8 (

                            ).

       At the direction of Google’s counsel, Prof. Simonson instructed AP not to invite

companies or state or federal agencies that are parties to, are identified in initial disclosures in,

or have received subpoenas in connection with this litigation or related litigation—the “No

Contact List,” Ex. 1, Simonson Rep. ¶ 34, App. I—to comply with ethical prohibitions against

contacting represented parties, see, e.g., Tex. Disciplinary R. of Prof. Conduct 4.02; ABA Model

Rules of Prof’l Conduct R. 4.2. The No Contact List included 580 advertisers, publishers, ad



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   Available at https://pubmatic.com/wp-content/uploads/2020/11/PubMatic-Omnichannel-
Header-Bidding.pdf.


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tech providers, and state and federal agencies, Ex. 1, Simonson Rep. App. I—many of which

would not have been qualified to respond to Prof. Simonson’s survey. After complying with the

no-contact directive, AP invited 11,162 potential participants from higher-spend advertisers,

lower-spend advertisers, and ad agencies to complete the surveys. Ex. 1, Simonson Rep., at

Exhibits 1, 37, 68.

       During the surveys, “respondents were ‘blind’ to the purpose of the survey and the

identity of its sponsor.” Ex. 1, Simonson Rep. ¶¶ 27, 79; see also Ex. 5, Mathiowetz Tr. 251:18-

25. Even so, to avoid bias, Prof. Simonson took care not to single out Google or any other

company in the questions. Ex. 1, Simonson Rep. ¶¶ 27, 81. Once they completed the survey,

respondents were informed that Google sponsored the survey and were given the option to

exclude their results. Id. ¶¶ 79-81. Respondents could not go back and change their responses,

however, id. ¶ 27 n.22, ¶ 59 n.55.

       Prof. Simonson considered whether the opt out would bias his results, and concluded

that it would not, because “there is no reason to expect the respondents who chose [to opt out] . . .

to be different in any systematic way or in any way that pertains to the surveys’ conclusions

from other respondents,” particularly because “respondents were asked to describe their

advertising practices and considerations, and they were not asked to evaluate any particular

company.” Id. ¶ 81. Prof. Simonson also cited research that identifying the survey sponsor has

no meaningful effect on survey responses. Id. ¶ 81 n.86. Ninety-four higher-spend respondents

(16%), 95 lower-spend respondents (24%), and 71 ad agency respondents (15%) asked to

exclude their responses. Ex. 1, Simonson Rep. at Exhibits 1, 37, 68.

       Plaintiffs do not challenge the surveys’ sample sizes or the statistical significance of the

results: Each of Prof. Simonson’s surveys had hundreds of responses, which allowed for



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appropriately narrow confidence intervals. Ex. 1, Simonson Rep., at Exhibit 1 at n.43, Exhibits

37, 68. The final samples included very large advertisers, including a substantial proportion who

spend more than $15 million on advertising per year. Ex. 1, Simonson Rep. ¶ 33 n.36. Plaintiffs

did not conduct their own survey, and their expert, Prof. Mathiowetz, did not undertake any

interviews or data collection. Ex. 5, Mathiowetz Tr. 147:16-25; 148:1-5.

   C. Professor Simonson’s Surveys Asked Respondents About the Extent to Which They
      Would Divert Spending from Display Advertising.
       Prof. Simonson asked advertisers and ad agencies questions about their use of various

digital advertising types, reliance on ad agencies, reactions to an increase in the cost of display

advertising, use of different ad buying tools, and metrics they use to assess performance. Ex. 1,

Simonson Rep. ¶ 39. Plaintiffs do not challenge most of these questions. In the one question they

do challenge, Prof. Simonson measured whether respondents would divert any of their advertising

spending to other ad formats in response to an increase in the cost of display advertising. See id.

¶¶ 63-67 (the “Diversion Question”). The Diversion Question instructed respondents to “suppose

that . . . the cost of programmatic display advertising has recently increased by a small but

significant amount, and will remain elevated for the foreseeable future[,]” but that the cost of

other digital advertising types, like social and search, remained the same. Id. ¶ 65. It then asked

whether respondents would divert their advertising spending to other ad formats, and to which

types of advertising respondents would divert their spend. Id.

       The results of Prof. Simonson’s surveys confirm that advertisers and ad agency employees

regularly adjust their spending across various forms of advertising, and between 54% and 61% of

respondents would divert spending from “programmatic display advertising” to another format—

such as social, search, digital video, direct deals, and Connected TV—in response to a small but

significant price increase. Ex. 1, Simonson Rep. ¶ 18 & Fig. 2, Exhibits 15, 58, 81.


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                                      LEGAL STANDARD

        Under Federal Rule of Evidence Rule 702 and Daubert, a court may admit expert testimony

 if “(1) the expert is qualified, (2) the evidence is relevant to the suit, and (3) the evidence is

 reliable.” Hall Arts Ctr. Off., LLC v. Hanover Ins. Co., 327 F. Supp. 3d 979, 1001 (N.D. Tex. 2018)

 (citing Kumho Tire Co. v. Carmichael, 526 U.S. 137, 147 (1999)). While the burden is on the

 proponent to make this showing, id., “‘the proponent need not prove to the judge that the expert’s

 testimony is correct,’” MM Steel, L.P. v. JSW Steel (USA) Inc., 806 F.3d 835, 850-51 (5th Cir.

 2015) (quoting Moore v. Ashland Chem. Inc., 151 F.3d 269, 276 (5th Cir.1998)).

        Courts commonly admit expert survey evidence, and “a survey need not be perfect to be

 admitted into evidence.” Honestech, Inc. v. Sonic Sols., 430 F. App’x 359, 362 (5th Cir. 2011). In

 the Fifth Circuit, “the general rule is that ‘methodological flaws in a survey bear on the weight the

 survey should receive, not the survey’s admissibility.’” Honestech, Inc. v. Sonic Sols., 430 F.

 App’x 359, 361 (5th Cir. 2011) (quoting Scott Fetzer Co. v. House of Vacuums Inc., 381 F.3d 466,

 488 (5th Cir. 2004)). In particular, courts in this Circuit have found that critiques of the survey

 universe and question phrasing bear on the weight of the survey, not on admissibility. See Scrum

 Alliance, Inc. v. Scrum, Inc., 2021 WL 1691136, at *3 (E.D. Tex. 2021) (survey universe, screening

 respondents, and other issues); Firebirds International, LLC v. Firebird Restaurant Group, LLC,

 2019 WL 3957846, at *2 (N.D. Tex. 2019) (survey universe and question wording); Honestech,

 Inc. v. Sonic Sols., 430 F. App’x 359, 361 (5th Cir. 2011) (question phrasing); Holiday Inns, Inc.

 v. Holiday Out in Am., 481 F.2d 445, 448 (5th Cir. 1973) (format of the question). “[T]he Rules of

 Evidence favor admission rather than exclusion[,]” Luckenbach Texas, Inc. v. Engel, 2022 WL

 16857410, at *5 (W.D. Tex. Oct. 13, 2022), and “[o]nly when ‘serious flaws in a survey will make

 any reliance on that survey unreasonable’ . . . should the survey be discounted entirely.” RE/MAX



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 Int’l, Inc. v. Trendsetter Realty, LLC, 655 F. Supp. 2d 679, 705 (S.D. Tex. 2009) (quoting Scott

 Fetzer Co., 381 F.3d at 488).

                                           ARGUMENT

        None of Plaintiffs’ arguments for exclusion hold water. First, they claim that Prof.

 Simonson’s sample was unrepresentative. But he confirmed that his samples represented

 advertisers and ad agencies across spending levels, even after excluding the No Contact List and

 opt-outs, and Plaintiffs’ expert was unable to identify any way in which the excluded populations

 differed from those who were tested. Second, Plaintiffs complain that the surveys were not double

 blind, even though their expert acknowledges that respondents were blind to the sponsor and

 purpose of the survey when responding to questions, Ex. 5, Mathiowetz Tr. 251:18-25, similar to

 the process used by the federal government in litigation surveys. And third, Plaintiffs make a last-

 ditch effort to exclude responses to the Diversion Question, claiming that Prof. Simonson’s use of

 “small but significant” renders it vague and confusing. But “small but significant” is an easy to

 understand, plain-English term. If Plaintiffs believe its use in a survey may confuse a jury, they

 can remedy that via cross-examination. Prof. Simonson executed his surveys based on decades of

 experience and expertise, and Plaintiffs’ arguments do not support exclusion.

   I.   PLAINTIFFS’ UNDERREPRESENTATION CRITIQUES DO NOT WARRANT
        EXCLUSION BECAUSE THEY DO NOT RENDER THE SURVEY UNRELIABLE.
        Plaintiffs observe that some entities were excluded from the survey sampling population

 and that AP uses “nonprobability” sampling to constitute its panel, but do nothing to explain why

 these technical critiques make the survey inadmissible.

        Plaintiffs emphasize that “[w]hen a survey’s coverage is underinclusive, its ‘value depends

 on the proportion of the target population that has been excluded from the sampling frame and the

 extent to which the excluded population is likely to respond differently from the included


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 population.’” Pls.’ Mot. at 12 (quoting FJC Man. at 378) (emphasis added); see also Pls.’ Mot. at

 8. Here, the target populations are advertising agencies, higher-spend advertisers, and lower-spend

 advertisers.2 It is undisputed that those populations were, in fact surveyed; Plaintiffs take issue

 with the fact that some individuals from those populations were not. But Plaintiffs’ Daubert

 challenge fails because they provide no indication of what “proportion of the target population

 [was] excluded,” Pls.’ Mot. at 8-9. and they do not even provide a hypothesis—let alone any

 evidence—on the extent to which the excluded population, out of millions of potential advertisers

 or ad agencies, was likely to respond any differently than the included population. Indeed,

 Plaintiffs’ own survey expert acknowledged that a survey that excludes members of the population

 of interest (at the request of counsel) is not problematic absent an “a priori hypothesis that [the

 excluded population] differed from [respondents included in the survey universe].” Ex. 5,

 Mathiowetz Tr. 53:16-18. She applied this very principle in other cases, justifying an exclusion

 where “[t]here does not appear to be any reason to believe that the opinions of the [population of

 interest] would differ from the opinions expressed by survey respondents with respect to the

 substantive questions asked in the survey.” Ex. 6 at ¶¶ 9, 22 (Expert Report of Nancy Mathiowetz,

 PhD at in Gallagher v. Bayer, 14-cv-04601-WHO (N.D. Cal. Dec. 31, 2018). Absent any indication

 as to whether or how the exclusion systematically biased the survey results, Plaintiffs’ criticism

 fails.

          Plaintiffs’ criticism of the No Contact List exclusion is worse than abstract; it is contrived.

 This is not a case where we do not know how individuals on the No Contact List would have


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   Plaintiffs suggest—without authority—that Prof. Simonson’s surveys should identify or were
 designed to identify “the relevant market.” Br. at 10. That was not Prof. Simonson’s assignment
 nor was that the objective of any of his surveys, so Plaintiffs’ suggestion that Prof. Simonson had
 to “show that the populations actually represent the markets the surveys purport to represent,” id.,
 is incorrect to the extent it is meant to refer to some alleged relevant market.


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 responded. Many entities on the No Contact List actually provided discovery in this case, and their

 individual responses can be compared to the survey results to evaluate whether the excluded

 population would have responded differently. The evidence is indeed consistent with the survey

 respondents. For example,



                                    Ex. 10 (      ) at 65:12-74:17; see also Ex. 9 (        ) at 30:1720-

 35:10 (

                                                                 ); Ex. 12 (           ) at 111:5-118:24

 (

                                                                                                    ); Ex.

 13 (                             ) at 63:11-76:1 (

                                                                       ); Ex. 14 (     ) at 101:9-104:14

 (                                                                                                  ); Ex.

 11 (        ) at 25:19-25:23 (

                                                                                             ). Plaintiffs’

 rebuttal expert did not bother to examine a single piece of evidence provided by any entity on the

 No Contact List.

           For these reasons, the cases that Plaintiffs cite are inapposite. Unlike this case, the surveys

 in Scott Fetzer Co. v. House of Vacuums Inc., 381 F.3d 477 (5th Cir. 2004), FTC v. Fleetcor Techs.,

 Inc., 2022 WL 3350066 (N.D. Ga. Aug. 9, 2022), and Hi Ltd. P’ship v. WingHouse of Fla., Inc.,

 2004 U.S. Dist. LEXIS 30687 (M.D. Fla. Oct. 5, 2004) all omitted entire categories of potential

 respondents—all potential purchasers of new vacuums, all women, and all past customers,

 respectively. Because those groups were likely to have different responses than the surveyed



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 population, “the survey[s] sa[id] nothing about” those portions of the populations of interest. Scott

 Fetzer, 381 F.3d at 487; see also Fleetcor, 2022 WL 3350066 at *5 (including past customers was

 “crucial” because “FleetCor’s own company materials and surveys themselves demonstrate that

 customers left—in droves—because of dissatisfaction”). That is very different from this case,

 where the No Contact List consisted of specific potential respondents due to their potential

 involvement in the litigation. The only commonality among the excluded entities that Plaintiffs

 can point to is their size, complaining that “some of the largest and highest-spending advertisers

 and ad agencies” were excluded.3 Pls.’ Mot. at 10. But Prof. Simonson confirmed that each of his

 surveys included respondents at every budget level, Ex. 1, Simonson Rep., at Exhibits 6, 42, 73,

 including 31 respondents with over $200 million in annual ad spend, see id. Simonson Rep. at

 Exhibit 6.

        Plaintiffs also separately argue that the court should be “skeptical” of the AP panel, because

 it is an “opt-in” panel and because one internal email at Google included a stray uninformed

 negative opinion of AP.4 Pls.’ Mot. at 10. But Plaintiffs’ oft-cited FJC Manual agrees with Prof.

 Simonson that surveys using “nonprobability” panels (i.e., opt-in panels like the one used here)

 are frequently admitted into evidence because this kind of sampling is “used widely in marketing

 research and . . . results of these studies are used by major American companies in making


 3
   Plaintiffs’ criticism regarding the No Contact List does not appear to impact the lower-spend
 advertiser survey.
 4
   The relevant Google employees are not survey experts, and this is the only email that Prof.
 Mathiowetz reviewed. Ex. 5 (Mathiowetz Tr.) at 138:4-11. Prof. Simonson, on the other hand, is
 an experienced survey expert, conducted diligence on AP, and reviewed the sample and survey
 results to ensure representativeness. See p. 11. Neither Plaintiffs nor their expert have articulated
 why this one-off email should trump Prof. Simonson’s expertise, but plaintiffs are free to cross-
 examine Prof. Simonson with this document and present the question to the jury. Liberty Mut. Ins.
 Co. v. Davis, 412 F.2d 475, 481-82 (5th Cir. 1969) (“[I]t is the function of the jury as the traditional
 finder of the facts, and not the Court, to weigh conflicting evidence and inferences, and determine
 the credibility of witnesses.”).


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 decisions of considerable consequence.” FJC Man. at 382. Moreover, Prof. Simonson took “special

 precautions” as recommended by the FJC Manual “to reduce the likelihood of biased samples,”

 Pls.’ Mot. at 10 (quoting FJC Man. at 382-83). Professor Simonson thoroughly vetted AP,

 including by conducting preliminary interviews of the type of respondents that AP could provide.

 Id. ¶ 33 n.35; Ex. 3, EDVA Simonson Tr. at 73:4-15; Ex. 2, Simonson Tr. 122:16. For higher-

 spend advertisers, Prof. Simonson ensured that there would be sufficiently large sample sizes at

 different spending levels. Id. ¶¶ 30-33 & n.36. He further confirmed that the survey results

 corroborated the representativeness of his samples, id. ¶ 35, and verified that his samples included

 a statistically relevant number of advertisers above and below the $500,000 spend mark, id. ¶ 37

 & n.43. There is no basis to exclude Prof. Simonson’s opinions based on his use of a non-

 probability sample.

  II.   THE DISCLOSURE AND OPT-OUT DID NOT RENDER PROFESSOR
        SIMONSON’S RESULTS UNRELIABLE.
        Plaintiffs argue that the disclosure and opt-out at the end of the survey rendered the samples

 unrepresentative and “unblinded” the surveys. Pls.’ Mot. at 13. Neither criticism withstands

 scrutiny.

        Plaintiffs speculate that “there is every reason to believe” that respondents who opted out

 were those whose responses were adverse to Google. Pls.’ Mot. at 13. Their logic does not follow.

 The surveys did not ask respondents what they thought about Google or its products, or any other

 question that a non-antitrust expert would understand as having an answer that could be helpful or

 hurtful to Google. Rather, Plaintiffs assume that respondents would somehow know that saying

 that they would continue to use display advertising despite a price increase, or that they do not use




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 multiple ad buying tools, could harm Google, and would therefore choose to opt out. This logical

 leap is unwarranted and speculation is not a reason to exclude expert testimony.5

        Plaintiffs also argue that the disclosure at the end of the survey “unblinded” the survey and

 was inconsistent with accepted survey practices,6 Pls.’ Mot. at 4, 13-14, and their expert claims

 that such a disclosure and opt out is “unheard of,” Ex. 4, Mathiowetz Rep. ¶ 47. This just calls into

 question Prof. Mathiowetz’s credibility: The FJC Manual acknowledges that “in some surveys

 (e.g., some government surveys), disclosure of the survey’s sponsor to respondents (and thus to

 interviewers) is required.” FJC Man. at 411. Indeed, Prof. Simonson adopted the federal

 government’s own practice for disclosing the sponsor and purpose of the survey and allowing

 respondents to opt out. Compare Ex. 15 (Novemsky Report, App. D, at 9, Intuit Inc., FTC Docket

 No. 9408 (filed Feb. 10, 2023)) with Ex. 1, Simonson Rep. App. F.2-39, App. G.2-32, App. H.2-

 41. The FJC Manual accepts that these surveys have probative value, only cautioning that “[s]uch

 surveys call for an evaluation of the likely biases introduced.” FJC Man. at 411.

        Prof. Simonson followed the guidance from the FJC Manual by evaluating whether the

 end-of-survey disclosure would bias his results and concluded it would not. He noted that

 respondents were not aware when they were answering questions who the sponsor was, and

 respondents could not subsequently change their answers. Ex. 1, Simonson Rep. ¶¶ 27 n.22, 59



 5
   Plaintiffs could have tested the effect the opt-outs could have had on the survey results, assuming
 that all opt-outs had survey answers that were adverse to Google. Plaintiffs did not do so. By
 contrast, Professor Simonson did conduct this analysis in response to Plaintiffs’ criticism and
 determined that, even if every respondent who had opted out had responded that they do not
 multihome and that they would not divert their spending in the face of a price increase, all three
 surveys still show significant multihoming and diversion. Ex. 16 (Sensitivity Analysis Based on
 Opt Out Respondents).
 6
   Plaintiffs also note that Prof. Simonson disclosed the sponsor of the survey during his preliminary
 interviews, Pls. Mot. at 6, but Prof. Simonson did not rely on the responses in those preliminary
 interviews in developing his opinions, Ex. 2 (Simonson Tr.) at 126:9-20.


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 n.55, 79. He observed that the questions did not ask about any particular company, so there is no

 reason to believe that those who opted out would have favored or disfavored Google in a systematic

 way, Id. ¶¶ 79, 81, and determined there is “no reason to expect the respondents” who opted out

 “to be different from the other respondents.” Id. ¶ 81.

        Moreover, the FTC has rejected the very same argument before: Intuit, the respondent in

 an agency enforcement matter, argued that allowing survey respondents to opt out meant that

 survey participants were “unrepresentative and biased.” Commission Opinion at 69, Intuit, Inc.,

 FTC Docket No. 9408 (Jan. 22, 2024). The FTC disagreed:

        The notification regarding the opt-out option and purpose of the survey, which is
        required by the Privacy Act, 5 U.S.C. § 552a(e)(3), was included at the end of the
        survey, rather than earlier on, thereby avoiding bias in the responses. . . . Moreover,
        Respondent has identified no reason to think that those who opted out differed from
        those who continued to participate in any way that would have affected the survey
        results. There is certainly no basis for Respondent’s suggestion those who opted out
        were sympathetic to Intuit. It is equally plausible that consumers with positive views
        of TurboTax were more likely to stay in the survey because they wanted to ensure
        their answers would help Intuit.
 Id. Like in the Intuit case, Plaintiffs have provided no data or other evidence demonstrating

 potential bias, so the same rationale supports the reliability of Prof. Simonson’s surveys.

        Finally, whether the disclosure biased the results goes to the survey’s weight rather than

 admissibility. Holiday Inns, Inc. v. Holiday Out In Am., 481 F.2d 445, 447 (5th Cir. 1973) (“the

 format of the questions and the manner of conducting the survey” should be left “for consideration

 as to the weight of this evidence.”); C. A. May Marine Supply Co. v. Brunswick Corp., 649 F.2d

 1049, 1055 n.10 (5th Cir. 1981) (inadequacies regarding “the manner in which [the survey] was

 taken” go to the “weight of the evidence”). Plaintiffs’ expert is welcome to describe to the jury

 how she would have conducted the survey differently.




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 III.   THE RESULTS OF THE DIVERSION QUESTION ARE RELIABLE.
        Plaintiffs argue that the Court should exclude the responses to the Diversion Question due

 to its “fatally vague and ambiguous” language, Pls.’ Mot. at 157, but quibbles with question

 phrasing “generally speak to ‘weight . . . not . . . admissibility.’” Honestech, Inc. v. Sonic Sols.,

 430 F. App’x 359, 362 (5th Cir. 2011) (quoting Scott Fetzer, 381 F.3d at 488); see also Firebirds

 Int’l, LLC v. Firebird Rest. Grp., LLC, 2019 WL 3957846, at *3 (N.D. Tex. Aug. 21, 2019) (“[T]he

 manner in which Klein asked questions . . . is not fatal to the survey’s admissibility.”).

        Moreover, Prof. Simonson’s use of “small but significant” was intentional, based on years

 of experience. He sought to “to leave it to the [respondents] to consider their reaction, if any, if

 (what they consider to be) ‘a small but significant’ increase in the cost of programmatic display

 advertising occurred,” Ex. 1, Simonson Rep. ¶ 65, using a “balanced” term to avoid predisposing

 respondents to a particular answer, id. at ¶ 65 n.65. Although Plaintiffs’ expert apparently would

 have preferred a precise number, Prof. Simonson chose qualitative words because, in his

 experience, “people are absolute value challenged” so it is “better to use qualitative, relative terms”

 to get “more meaningful answers.” Ex. 2, Simonson Tr. 175:4-8, 249:2-252:21. This is a valid

 methodological choice, not a reason for exclusion. He declined to define the term because small

 and significant “are familiar words” and he “wanted respondents to interpret the question

 meaningfully based on their familiarity with those plain language words.”8 Ex. 2, Simonson Tr.

 246:5-13. And he considered but rejected Plaintiffs’ arguments that respondents would assign

 different numerical meanings to “small but significant,” based on his own research that has shown



 7
   Plaintiffs do not make any arguments challenging the relevance of the diversion question, despite
 stating that the question is unreliable and irrelevant in a heading. See Pls.’ Mot. at 14.
 8
   Courts agree that lay persons (like survey respondents and jurors) are well-placed to interpret
 plain-English terms. See, e.g., United States v. Haines, 803 F.3d 713, 734 (5th Cir. 2015).


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 that respondents are “cognitive misers” who “would not speculate about a number” but would

 instead “use their familiarity with the words small but significant” to respond. Id. 248:16-23; see

 also id. 247:20-24.

        In any case, there is nothing problematic about Prof. Simonson’s use of the term “small but

 significant.” Unlike in In re Motor Fuel Temperature Sales Practices Litig., 2012 WL 13050523

 (D. Kan. Feb. 29, 2012), the case cited by Plaintiffs, Pls.’ Mot. at 14-15, Plaintiffs surely do not

 purport to argue that respondents did not know what the Diversion Question was asking (i.e. their

 conduct if prices increased). Indeed, Plaintiffs’ own expert acknowledged that even when a phrase

 “could be interpreted differently by different people,” it does not necessarily “affect the validity

 of [the] survey results.” Ex. 5 Mathiowetz Tr. 70:10-18; id. at 127:5-128:5 (testifying potentially

 different interpretations of a term is “not going to change the validity of this question”). Moreover,

 while Plaintiffs’ argue that “[j]urors will likely assume” that the respondents interpreted the

 question to be asking about a five-percent price increase, Pls.’ Mot. at 15, any confusion can be

 easily avoided at trial by cross examining Prof. Simonson about whether the survey assigned a

 percentage to “small but significant.” Prof. Simonson’s use of “small but significant” does not

 render his results unreliable or unduly confusing for the jury.

                                           CONCLUSION

        For the foregoing reasons, Plaintiffs’ motion should be denied.




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 Dated: December 9, 2024                Respectfully submitted,

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                                CERTIFICATE OF SERVICE

         I certify that on December 9, 2024, this document was filed electronically in compliance
 with Local Rule CV-5(a) and served via email on all counsel who have consented to electronic
 service, per Local Rule CV-5(a)(3)(A).


                                                            /s/ Justina K. Sessions

                           CERTIFICATE OF MOTION TO SEAL

        I certify that contemporaneously with the filing of this Motion, Defendant is filing a
 motion to seal both this document and the documents attached as exhibits hereto.

                                                            /s/ Justina K. Sessions




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